                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA


STATE OF ALASKA, DEPARTMENT            )
OF TRANSPORTATION & PUBLIC             )
FACILITIES,                            )
                                       )
                            Plaintiff, )
                                       )
      vs.                              )
                                       )
2.396 ACRES MORE OR LESS NEAR          )
BETHEL, ALASKA; 3,344 SQ. FT. MORE     )
OR LESS NEAR BETHEL, ALASKA; the       )
BUREAU OF INDIAN AFFAIRS; EARL         )
POLK III; WARREN POLK; VINCENTO        )
POLK; JASON POLK; and SOPHIE EVAN , )
                                       )                 No. 3:20-cv-0306-HRH
                          Defendants.  )
_______________________________________)



                                      ORDER
                              Motion to Substitute Expert1

      The Government moves to substitute its expert and amend the scheduling order

accordingly. The Polks, through counsel, do not oppose this motion. The State of Alaska
also does not oppose the Government’s motion. The Government has shown good cause2
to amend the court’s scheduling and planning order.3 The motion to substitute expert and

amend scheduling and planning order is granted.


      1
       Docket No. 51.
      2
       Docket No. 52.
      3
       Docket No. 27.

ORDER – Motion to Substitute Expert                                                 -1-


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       Accordingly, defense expert reports are now due January 2, 2023. Expert discov-

ery closes February 28, 2023. Discovery disputes (including ESI) shall be presented to

the court as soon as discovery problems are identified, but not later than 14 days after the

close of discovery. If the meet-and-confer process (see Rule 37(a)(1)) fails to resolve dis-

agreements regarding mandatory initial discovery or discovery requests, the parties shall
present that dispute to the court in a single, joint motion, stating the issue, any applicable

rules, and each party’s proposed disposition of the dispute. The joint motion must contain
the Rule 37(a)(1) certification. The court may resolve the dispute based upon the parties’
presentations or after a conference call. At a conference, the court may authorize the

filing of a discovery motion. Dispositive motions shall be served and filed not later than

May 1, 2023. Motions in limine, including motions as to qualification of experts and

Daubert motions, shall be served and filed not later than 30 days following the later of the

date for the filing of dispositive motions or the date of the court’s ruling on timely dis-
positive motions

       DATED at Anchorage, Alaska, this 15th day of September, 2022.



                                                   /s/ H. Russel Holland
                                                   United States District Judge




ORDER – Motion to Substitute Expert                                                        -2-


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